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UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
APPEARANCE OF COUNSEL FORM

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COUNSEL FOR: Judge Jefferson Griffin

as the

(party name)

appellant(s)| W |appellee(s) petitioner(s) respondent(s) amicus curiae intervenor(s) movant(s)

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